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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

   UNITED STATES OF AMERICA,                     )
                                                 )
                 Plaintiff,                      )
                                                 )
         v.                                      )   NO. 2:11CR77 PPS
                                                 )
   JUAN BRISENO,                                 )
                                                 )
                 Defendant.                      )

                                  MEMORANDUM OPINION

         Trial in this matter is set to begin Monday, January 12, 2015. The prospective

  jurors have completed a lengthy juror questionnaire, and based on those questionnaires,

  several jurors were struck for cause after a lengthy hearing. Approximately 250 jurors

  remain in the venire. I have previously described my intention of bringing 24

  prospective jurors to court each day for a communal general voir dire followed by

  individual voir dire chiefly for purposes of death qualification, during which counsel

  will be permitted to pose questions to individual venire members. The purpose of this

  Memorandum Opinion is to give the parties some guidance on what I believe to be the

  proper scope of that individual questioning.

         Defendant Briseno’s counsel long ago filed a “Motion to Permit Attorney

  Conducted Voir Dire, etc.” [DE 611]. Given the structure I have outlined for the

  conduct of in-person voir dire, I obviously intend to allow counsel to pose appropriate

  questions to prospective jurors to explore their attitudes about the death penalty, and so

  to that extent, the motion will be granted.
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            Questions undoubtedly arise as to what questions are appropriate, and which are

  not. Briseno’s motion contains a lengthy memorandum on principles applicable to the

  death penalty and the results of social science research concerning capital juries, much

  of which seems better directed to the formulation of jury instructions than to my

  decisions about what is permissible in jury selection. The motion isn’t particularly

  specific about the sorts of questions counsel wish to ask. But both parties agree, and I

  am well aware, that the death qualification standard only warrants disqualification of a

  juror for cause whose views on the subject would “prevent or substantially impair the

  performance of his duties as a juror in accordance with his instructions and his oath.”

  Adams v. Texas, 448 U.S. 38, 45 (1980). Likewise, there is agreement to the corollary

  principle that a prospective juror who would categorically always impose, or

  categorically never impose, a sentence of death on a defendant convicted of a capital

  crime is properly struck for cause as someone who could not give proper consideration

  to the role of aggravating or mitigating factors. Morgan v. Illinois, 504 U.S. 719, 728-29

  (1992).

            Without citing to any supportive authority, Briseno’s motion suggests that

  counsel should be “permitted to probe juror attitudes about the significant facts in the

  specific case.” [DE 611-1 at 11.] In his much more recently filed “Defendant’s Proposed

  Jury-Selection Procedures and Memorandum of Law Regarding Capital Voir Dire,”

  Briseno argues for such questioning by reliance on a number of Supreme Court cases

  requiring that capital juries be able to give meaningful consideration and effect to

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  mitigating evidence. [DE 1174 at 10-12, citing Abdul-Kabir v. Quartermain, 550 U.S. 233,

  246 (2007); Smith v. Texas, 543 U.S. 37, 46 (2004); Tennard v. Dretke, 542 U.S. 274, 284

  (2004); Penry v. Johnson, 532 U.S. 782, 797 (2001) (Penry II); Penry v. Lynaugh, 492 U.S. 302,

  319 (1989).]

         But these cases are directed to issues of jury instruction, not jury selection, and in

  my view don’t support the sort of “stake-out” questions Briseno wants to pose and

  which I find inappropriate. In a case such as this, with so many alleged homicides,

  attempted homicides and other expansive and grim allegations about drug trafficking

  and the violent gang lifestyle, skillful counsel could potentially employ such questions

  (if permitted) to make the seating of a petit jury nearly impossible.

         Instead, I am persuaded by the reasoning of the Tenth Circuit in United States v.

  McVeigh, where the court considered the appropriateness of questions asking a

  potential juror in effect “how she would vote on the evidence presented at trial.” 153

  F.3d 1166, 1207 (10th Cir. 1998). Questions that ask a juror’s predisposition “predicated

  on facts specific to the case at issue or upon speculation as to what facts may or may not

  be proven at trial” are impermissible because they “improperly call[] for speculation

  and [seek] a precommitment from the juror.” Id. I will not allow those sorts of

  questions in voir dire.

         This is true with respect to aggravating and mitigating sentencing factors, just as

  it is with presumed facts to be proved at the guilt phase of the trial. I agree with

  McVeigh that death qualification is properly “designed to illuminate a juror’s basic

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  beliefs ‘regardless of the facts and circumstances of conviction’” and “not to allow

  defendants to pre-determine jurors’ views of the appropriate punishment for the

  particular crime charged.” Id. at 1208, quoting Morgan, 504 U.S. at 735. Therefore, I will

  not permit voir dire questions attempting to elicit a prospective juror’s analysis of the

  persuasive value of particular aggravating or mitigating factors, and their likely impact

  on his or her vote for or against the death penalty.

         The juror comprehensive questionnaire jointly devised by the parties posed 14

  probing questions concerning capital punishment. As a result, before laying eyes on the

  venire members, counsel and I have significant information on each individual’s

  attitudes about the death penalty and its potential imposition in this case. The in-

  person death qualification voir dire will provide an opportunity for us to clarify

  ambiguous or conflicting responses in an individual’s questionnaire, and further

  explore what McVeigh calls “the jurors’ core value system regarding imposition of the

  death penalty.” 153 F.3d at 1208. Questions “regarding how a juror would vote during

  the penalty phase if presented with specific mitigating (or aggravating) factors” or other

  case-specific circumstances will not be allowed. Id. (parenthetical added).

         One topic potentially appropriate for exploration on voir dire is identified in

  Briseno’s motion. Briseno correctly observes that, as the Supreme Court has held, “a

  capital defendant accused of an interracial crime is entitled to have prospective jurors

  informed of the race of the victim and questioned on the issue of racial bias.” Turner v.

  Murray, 476 U.S. 28, 36-37 (1986), cited at DE 611-1 at 6. I don’t believe the record to-

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  date discloses or establishes the race of each of the murder victims (or attempted

  murder victims) involved in the charges against Briseno. But if defense counsel wish to

  make a record on the subject and invoke Briseno’s entitlement to inquire into

  prospective jurors’ racial bias, they will be permitted to do so.

         “No hard-and-fast formula dictates the necessary depth or breadth of voir

  dire...Jury selection, we have repeatedly emphasized, is ‘particularly within the province

  of the trial judge.’” Skilling v. United States, 561 U.S. 358, 386 (2010). “Impartiality is not

  a technical conception. It is a state of mind. For the ascertainment of this mental

  attitude of appropriate indifference, the Constitution lays down no particular tests and

  procedure is not chained to any ancient and artificial formula.” United States v. Wood,

  299 U.S. 123, 145-46 (1936). “Deference to the trial court is appropriate because it is in a

  position to assess the demeanor of the venire, and of the individuals who compose it, a

  factor of critical importance in assessing the attitude and qualifications of potential

  jurors.” Uttecht v. Brown, 551 U.S. 1, 9 (2007).

         In attempting to judge the impartiality of the venire members, I am mindful that

  “unmistakable clarity” as to unacceptably biased views of a particular juror may not

  always be expected and cannot be required.

         [D]eterminations of juror bias cannot be reduced to question-and-answer
         sessions which obtain results in the manner of a catechism. What
         common sense should have realized experience has proved: many
         veniremen simply cannot be asked enough questions to reach the point
         where their bias has been made ‘unmistakably clear’; these veniremen
         may not know how they will react when faced with imposing the death


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        sentence, or may be unable to articulate, or may wish to hide their true
        feelings.

  Wainwright v. Witt, 469 U.S. 412, 424-25 (1985). I will ultimately be guided by the

  applicable standards “imbued with a fair amount of common sense” and, based on “the

  questioning as a whole” rather than particular questions and answers, make strikes for

  cause where the record leaves me “with the definite impression that a prospective juror

  would be unable to faithfully and impartially apply the law.” Id. at 435, 426.

        ACCORDINGLY:

        Defendant Briseno’s Motion to Permit Attorney Conducted Voir Dire Pursuant to

  Principles Required by Furman v. Georgia and Its Progeny [DE 611] is GRANTED IN

  PART and DENIED IN PART, as indicated in the memorandum of this opinion.

        SO ORDERED.

        ENTERED: January 5, 2015.

                                           /s/ Philip P. Simon
                                           PHILIP P. SIMON, CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT




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